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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS


                           CIVIL ACTION NO. 00-10981-RWZ

                                 DONNELL THOMPSON

                                             v.

                      CORRECTION OFFICER WILLIAM TORRES



               STATEMENT OF REASONS FOR ENTRY OF JUDGMENT
                             November 30, 2009

ZOBEL, D.J.


       This case was brought by 52 plaintiffs against the Sheriff of Suffolk County and

numerous correction officers. Each plaintiff alleged violations of his civil rights by

physical abuse by one or more of the defendants. Each claimed money damages and

all sought an injunction against further violations. With respect to the latter part of the

case, I certified a class and that part of the action was ultimately settled. Because each

of the claims of the individual plaintiffs involved different defendants, dates and

conduct, I established groups of 10 to 12 plaintiffs for discovery and trial. Some

plaintiffs in each group were dismissed because counsel could not find them, because

they had failed to exhaust the grievance process, or because they failed to provide

discovery. Two or three in each group remained and each of them had a separate trial

because, as noted above, each plaintiff’s case was unique. One of those trials was

that of Mr. Thompson against Correction Officer Torres.

       The specific claims of this plaintiff are unrelated to the specific claims of every
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other plaintiff. While combining these plaintiffs in one lawsuit was appropriate for the

class action part of the case, the individual claims are sui generis. Accordingly, they

were and will continue to be tried as separate cases. Since each plaintiff’s case is

self-contained, it would be inappropriate and unjust to require each plaintiff to wait for

the completion of all remaining self-contained trials. For these reasons I ordered entry

of judgment under Rule 54 (b).




   November 30, 2009                                    /s/Rya W. Zobel
        DATE                                             RYA W. ZOBEL
                                                 UNITED STATES DISTRICT JUDGE




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